           Case 1:18-cv-00492-JPC Document 26 Filed 10/16/20 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X             10/16/2020
                                                                       :
MYRREHELEKI TURNER,                                                    :
                                                                       :
                                    Petitioner,                        :
                                                                       :      18-CV-492 (JPC)
                  -v-                                                  :
                                                                       :       NOTICE OF
HAROLD GRAHAM,                                                         :     REASSIGNMENT
                                                                       :
                                    Respondent.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. Unless and until the Court orders otherwise, all prior orders, dates, and deadlines

shall remain in effect notwithstanding the case’s reassignment.

        SO ORDERED.

Dated: October 16, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
